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AO 91(Rev. 1U11) Criminal Complaint      AUSAs ChristopherJ. Stetler (312-353-7602) and Nani Gilkerson   (312-469-*r,   S

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UNITED STATES OF AMERICA
                                                         CASE NUMBER:                 THOMAS G. BRUTON
                       v.                                                           CLERK, U.S. DISTRICT COURT
                                                         T.]NDER SEAL
CHRISTOPHER LAWRENCE,
      also known as "Black"
                                                                       LVtrW                         2,Bg
                                        CRIMINAL COMPI,AII\TT              MAGTSTRATE JUDGE VALDEZ

       I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
       On or about August 27, 2015, at Chicago, in the Northern District of Illinois, Eastern
Division and elsewhere, the defendant, CHRISTOPHER LAWRENCE, violated:
    Code   Section                       r
                                                      Offense Description
    Title 18, United States      Code, Section        having been previously convicted of   a crime
    e22(do)                                          punishable by a term of imprisonment exceeding
                                                     one year, did knowingly possess in and affecting
                                                     interstate commerce a firearm, namely, a Smith
                                                     and Wesson, model 5904, 9-millimeter pistol,
                                                     bearing serial number TDD6687, which firearm
                                                     had traveled in interstate commerce prior to the
                                                     defendant's possession of the firearm

    This criminal complaint is based upon these facts:
     X     Continued on the attached sheet.

                                                           ERIC J.
                                                           Special Agent, Bureau of Alcphol,                Tobacco,
                                                           Firearms & Explosives      I


Sworn to before me and signed in my presence.

Date: April 24.20L7
                                                                  ^-\c)
                                                            \\,,t-_--_-IJX
City and state: Chicago. Illinois                       Maria Valdez. U.S. Magistrate Judge
                                                                     Printed ndnle and Title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                      AFFIDAVIT
       I, ERIC J. KOSLOWSKI, being duly sworn, state as follows:

       1.    I am a Special Agent with the Bureau     of Alcohol, Tobacco, Firearms &

Explosives, and I have been so employed for approximately three years. My current

responsibilities include the investigation of firearms and narcotics trafficking

offenses.

       2.    This affidavit is submitted in support of a criminal complaint alleging

that CHRISTOPHER LAWRENCE, also known as "Black," has violated                 fitle   18,

United States Code, Section 922(d$). Because this affidavit is being submitted for

the limited purpose of establishing probable cause in support of a criminal
complaint charging LAWRENCE with being a felon in possession of a firearm, I

have not included each and every fact known to me concerning this investigation.         I
have set forth only the facts that   I believe establish probable cause to believe that
the defendant committed the offense alleged in the complaint.

       3.    This affidavit is based on my personal knowledge, information
provided to me by other law enforcement agents, witness interviews, and my review

of draft transcripts of consensually recorded conversations. My descriptions of

conversations and bracketed understandings of statements         in this affidavit     are

summaries based on my     initial review of draft transcripts and recordings   and my

training, experience, and involvement in the investigation. Those descriptions are
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not based on final, verbatim transcripts, and the times listed for the conversations

are approximate. Voice identifications are based on individuals'familiarity with the

speakers'voices through consensually recorded meetings. Because this affidavit is

offered for a limited purpose, I have not included a description of every topic

discussed or every statement contained   in the recorded conversations, and I     have

not included all of the facts known to me or other law enforcement offrcers about the

investigation.

      Summary of the Inaestigation

      4.     As explained in more detail below, CHRISTOPHER LAWRENCE is a

felon who has distributed firearms, cocaine, and crack cocaine in the Chicago area,

including to a confidential source ("CS2") and an undercover law enforcement agent

("UCL") posing as one of CS2's narcotics customers.

      LAWRENCE Sells UCL Approrirnately 4.7 Grams of Coca,ine

      5.     On or about June 23,2015, at approximately 11:55 8.h., CS2 and UC1

had a consensually recorded telephone call with LAWRENCE to arrange the sale of

cocaine from LAWRENCE         to CS2.     According   to a   recording   of the   call,

LAWRENCE said, "I already called my man [cocaine supplier] already. He waiting

for us." LAWRENCE said, "When he [LAWRENCE's cocaine supplier] gets back

into his apartment, he's gonna give me the stuff [cocaine] when I meet him up there

with the money, get the shit from him, and I come back down and give you y'all shit,

and y'all can go. That's the way he do business, man." UCI- responded,'Yeah, but      I
like to look..." LAWRENCE interrupted, "It ain't gonna make me or break me. I



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don't need money or your    shit. I got my own money.              So as far   y'all calling me to do

something for y'all, I'm doing   it   out of kindness for y'all. You know, you're grving

me shit for doing nothing for you.... My man tCS2l just called me and asked me to

get this shit, and that's what   I did." UC1 said, "I just want to take a look at it            [the

cocainel, man, [to] make sure it's good. 'Cause         if   ...   it ain't good, I don't want it."
LAWRENCE responded, "Okay. Then             I'11   go back upstairs [to retrieve the cocaine

for UCll and get you, your money.... I'm gonna tell him to give me the shit, and

then I'll bring   it down and bring him his money back."             UC1 said, "[T]hat's perfect,

man. Alright, we're coming over." CS2, UC1, and LAWRENCE then agreed to meet

in front of a liquor store located on the 1100 block of North Milwaukee Avenue in

Chicago.l

       6.     Later that day, at approximately 12:32 p.m., UC1 and CS2 met in

Chicago with LAWRENCE so LAWRENCE could facilitate the sale of cocaine to

UCI-, who recorded the meeting. According                to a        recording of the meeting,

LAWRENCE said, "This [the sale of cocaine to UC1] is petty.... This is nothing

compared to what      I do. TWo balls    [the quantity of cocaine that UC1 was buyingl

ain't shit." LAWRENCE left and then returned to UC1 and CS2. When he
returned, LAWRENCE handed UC1 two clear, plastic bags containing an off-white,


1According to a law enforcement database, CS2 has been convicted at least nine times for
offenses that include burglary, theft, obstruction of justice, forgery, and battery. CS2 is
cooperating with law enforcement in return for financial compensation. No other promises
have been given to CS2 regarding what, if any, benefit CS2 may receive in return for CS2's
cooperation. As explained below, law enforcement is familiar with LAWRENCE's voice
based on in-person, consensually recorded meetings with LAWRENCE, during which
LAWRENCE spoke.



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chunky substance that, according to a subsequent lab analysis, tested positive for

the presence of cocaine and weighed approximately 4.7 grams. LAWRENCE said,

"Open       it up. Smell it   so you know [the cocaine was good   quality]." After   UC1

commented that UC1 could smell         it, LAWRENCE said, "He [LAWRENCE's        cocaine

supplierl bitched about you not Srving me the money. Like, 'Man, after this you

either bring the money, or fuck them. I ain't catering to nobody.' ... That's how me

and him been doing business." UC1 paid LAWRENCE approximately $400, which

LAWRENCE counted. LAWRENCE asked, "Do                     I get a twenty [dollars] or
something          for my troubles?" UC1 paid LAWRENCE an additional                 $ZO.

LAWRENCE continued,            "I cook shit [cocaine into crack cocaine]." UC1 asked,
"Mhat           would he [LAWRENCE's cocaine supplier] do for me on the fucking hard

[crack cocaine], man?" LAWRENCE said, "[H]e not the only one        I deal, I fucks with,
okay?...        I got different sources.... We can work together." LAWRENCE said he
needed      to be careful with who he deals with       because "IVe been    in the feds
[LAWRENCE has a federal conviction] and shit."2

                LAWRENCE Sells UCl Approrimately 25.3 Grams of Cra,ch Cocaine

        7   .      Between on or about June 25, 2015, and on or about July 1, 2015, UC1

negotiated the purchase of crack cocaine via text message with the phone numher

LAWRENCE used to coordinate the June 23,20L5, cocaine sale summarized above

("LAWRENCE's Phone"). UCI- wrote, "u get that            # [price] for me on da zipper
2 According to a law enforcement database, LAWRENCE has several felony convictions. On
or about September 20,2005, for example, LAWRENCE was convicted in the United States
District Court for the Northern District of Illinois of using a communication facility to
facilitate the distribution of a controlled substance, which is a felony.
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[ounce   of cocaine?]" LAWRENCE's Phone responded, "IJ want it hard              [crack

cocaine] or sofa [powder cocaine?]" UC1 responded, "dat hardball'[crack cocaine]."

After UC1 wrote that he would be available to purchase the crack cocaine on July     L,

20t5, LAWRENCE's Phone wrote, "Ok go to same spot [the liquor store located on

the 1100 block of North Milwaukee Avenue in Chicagol."

      8.     On or about July 1, 2015, UC1, UCz, and CS2 met in Chicago with

LAWRENCE so LAWRENCE could facilitate the sale of crack cocaine to UC1, who

recorded the meeting. According to a recording of the meeting, during the meeting,

LAWRENCE handed UC1 a clear, plastic bag containing an off-white, rock-like

substance   that, according to a subsequent lab analysis, tested positive for the
presence of cocaine base and weighed approximately 25.3 grams. UC1 asked, "Man,

that measure up rig};lt?" LAWRENCE answered, "No, it's all right here. Everything

there for you.... It's weighed out   right." UC1 paid Lawrence approximately   $1,600.

LAWRENCE asked, "It's sixteen [hundred dollars] right there,            right?" UCl
answered,'Yeah, we're good, man."

           LAWRENCE Sells UCI a Firearm

      9.     On or about August 4, 20L5, UC1 had a consensually recorded
telephone call with LAWRENCE. According to a recording of the call, UC1 said

that CS2 "was telling me that you got that 40[-caliber firearm] that looks nice."
LAWRENCE said, "I was really tryrng to give       it   up, actually." UC1 asked, "How

much you're talking [about selling the firearm for], man?" LAWRENCE answered,

"IIh, maybe is just gonna be anywhere, Iike, maybe three-fifty [$Bb0], because      ...
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three t$3001.... [G]ive me a couple of days, and then I can tell you what to do, come

get   it   or whatever."

           10.    On or about August 26, 20L5, at approximately 6:18 p.m., UC1 had a

consensually recorded telephone call               with LAWRENCE, who-according to               a

recording of the     call-       said, "I just talked to one of my buddies. He said he got a tre

eight [38-caliber firearm]." UC1 asked, "How much he want?" LAWRENCE
answered, "He want three [$300]." UC1 asked, "[Wlhen is he going to have this

shit?" LAWRENCE answered, "We can get it now, whenever you ready."

           11.   Later that day, at approximately 7:34          p.l,*r., UC1   had a consensually

recorded telephone call with LAWRENCE, who said he could arrange the sale of a

.40-caliber gun to      UCL. According to a recording of the call, when LAWRENCE
provided      UCl with the price for the         .4O-caliber gun, UC1 said, "[T]hat's way too

much, man.        I can't   do   that shit, man.... Let's do, just do the three eight zero [.38-

caliber firearml, man." UC1 asked, "Three frfty [$350]?" LAWRENCE answered,

'Yeah."

           L2.   On or about August 27, 20L5, at approximately 2:49 p.m, UC1 had a

consensually recorded telephone call with LAWRENCE. According to a recording of

the call, LAWRENCE said, "My man just said that he, that dude ain't answered

him back for the tre eight [.38-caliber firearm]. But he said this is what he'll do for

you since you kinda wanted the forty[-caliber firearm]. He said he'll give               it to you
for eight [hundred dollars]. And he said that ain't high'cause it's ... brand-spanking

new. I saw it. I       seen       it with my own eyes." UC1 said, "Eight's t$aoo isl a lot."



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LAWRENCE said, "I know, bro', but ... where you going to go get a brand-new one

from? [The gun hadl Never been shot." LAWRENCE agreed to contact                     his

purported firearms source and call UC1 back.

         13.    Later that day, at approximately 4:34 p.m., UCl had a consensually

recorded telephone call with LAWRENCE. According to a recording of the call, UC1

said,   "I   can do   it, but is it really that nice?" LAWRENCE said, "I don't sell no
bullshit.... I'm gonna call him       TLAWRENCE's fireanns sourcel 'cause he got in

touch with his other people to see what else lother firearmsJ they got [to sell]."

        14.     Later that day, at approximately 4:55 p.m., UC1 had a consensually

recorded telephone call with LAWRENCE to arrange UCl's purchase of a firearm.

According to a recording of the call,    UCl said, "I'll pull up to the same spot [where
UC1 had previously purchased crack cocaine from LAWRENCE]."

        15.     Later that day, at approximately 6:33 p.m., UC1, IJCZ, and CS2 met

with LAWRENCE in Chicago           so LAWRENCE could facilitate the sale of a firearm

to UC1, who recorded the meeting. According to a recording of the              meeting,

LAWRENCE handed UC1 a plastic bag and said, "Here you go. Check it out." UC1

then opened the bag, which contained a loaded Smith and Wesson, model 5904, g-

millimeter pistol, bearing serial number TDD6687. UCl provided LAWRENCE

with    headphones and approximately $ZOO. LAWRENCE                then contacted his
firearms supplier on the telephone, which he gave to UC1. The firearms supplier

and UC1 then agreed for UC1 to pay $750 for the firearm. UCl provided
LAWRENCE with an additional $50.
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       16.   Later that day, at approximately 7:20 p.m., UC1 had a consensually

recorded telephone call    with LAWRENCE. According to a recording of the           call,

LAWRENCE said, "ffiou gotta hit me next time tUCl wants another firearm]. You

gotta treat me right." LAWRENCE expressed his displeasure that his firearms

source Ieft bullets   in the gun sold to UC1, saying, "And it had bullets in it.... I
cussed   him out [for providing a loaded gun].       I   don't pass no gun over, the

motherfucker had bullets in the gun.... I don't know what you could've been capable

of doing."

       Conclusion

       17.   Based on the above information,    I believe that there is probable   cause

to believe that on or about August 27,20!5,I"AWRENCE committed the offense of

being a felon in possession of a firearm, in violation of Title 18, United States Code,

Section 922(dG).

       FURTHER AFFIANT SAYETH NOT.



                                        Special Agent, Bureau of Alcohol, Tobacco,
                                        Firearms & Explosives


         RIBED AND              to before me on April 24,20L7.


Maria Valdez
United States Magistrate




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